1                                          Exhibit A

2                                   Proposed Interim Order

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
 Case: 19-30088   Doc# 23-1   Filed: 01/29/19   Entered: 01/29/19 02:24:53   Page 1 of
                                          37
   WEIL, GOTSHAL & MANGES LLP                      CRAVATH, SWAINE & MOORE LLP
   Stephen Karotkin (pro hac vice pending)         Paul H. Zumbro (pro hac vice pending)
   (stephen.karotkin@weil.com)                     (pzumbro@cravath.com)
   Jessica Liou (pro hac vice pending)             Kevin J. Orsini (pro hac vice pending)
   (jessica.liou@weil.com)                         (korsini@cravath.com)
   Matthew Goren (pro hac vice pending)            Omid H. Nasab (pro hac vice pending)
   (matthew.goren@weil.com)                        (onasab@cravath.com)
   767 Fifth Avenue                                825 Eighth Avenue
   New York, NY 10153-0119                         New York, NY 10019
   Tel: 212 310 8000                               Tel: 212 474 1000
   Fax: 212 310 8007                               Fax: 212 474 3700

   KELLER & BENVENUTTI LLP
   Tobias S. Keller (#151445)
   (tkeller@kellerbenvenutti.com)
   Jane Kim (#298192)
   (jkim@kellerbenvenutti.com)
   650 California Street, Suite 1900
   San Francisco, CA 94108
   Tel: 415 496 6723
   Fax: 650 636 9251

   Proposed Attorneys for Debtors and Debtors
   in Possession

                       UNITED STATES BANKRUPTCY COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION


   In re:                                            Case Nos. 19-30088
                                                               19-30089
   PG&E CORPORATION
                                                     Chapter 11
                                Debtor.
                                                     [PROPOSED] INTERIM ORDER
   Tax I.D. No. XX-XXXXXXX                           PURSUANT TO 11 U.S.C. §§ 105, 362, 363,
                                                     364, 503 AND 507 AND FED. R. BANKR.
   In re:                                            P. 2002, 4001, 6004 AND 9014
   PACIFIC GAS AND ELECTRIC                          (I) AUTHORIZING DEBTORS TO
   COMPANY                                           OBTAIN SENIOR SECURED,
                       Debtor.                       SUPERPRIORITY, POSTPETITION
                                                     FINANCING, (II) GRANTING LIENS
   Tax I.D. No. XX-XXXXXXX                           AND SUPERPRIORITY CLAIMS,
                                                     (III) MODIFYING THE AUTOMATIC
                                                     STAY, (IV) SCHEDULING FINAL
                                                     HEARING, AND (V) GRANTING



Case: 19-30088     Doc# 23-1     Filed: 01/29/19    Entered: 01/29/19 02:24:53     Page 2 of
                                             37
1                                                                 RELATED RELIEF
2                                                                 Date:
                                                                  Time:
3                                                                 Place:
4
                      Upon the Motion, dated January 29, 2019 (the “Motion”), of PG&E
5
     Corporation, a California corporation (“PG&E Corp.”), and Pacific Gas and Electric
6
     Company, a California corporation (“Pacific Gas and Electric Company”), each as
7
     debtors and debtors in possession (collectively, the “Debtors” and together with their
8
     non-Debtor affiliates, the “Company”), pursuant to sections 105, 362, 363, 364(c)(1),
9
     364(c)(2), 364(c)(3), 364(e), 503 and 507 of title 11 of the United States Code (the
10
     “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of
11
     Bankruptcy Procedure (the “Bankruptcy Rules”), and the local rules for the United
12
     States Bankruptcy Court for the Northern District of California (the “Local Bankruptcy
13
     Rules”), seeking entry of an interim order (this “Interim Order”) and final order (the
14
     “Final Order”):
15

16           (i)      authorizing the Borrower (as defined below) to obtain post-petition
                      financing pursuant to a senior secured, superpriority debtor-in-possession
17                    new money credit facility in an aggregate principal amount of up to
                      $5,500,000,000 on the terms and conditions set forth in the senior secured
18
                      superpriority debtor-in-possession credit, guaranty and security agreement
19                    substantially in the form attached hereto as Exhibit 1 (the “DIP Credit
                      Agreement”)1, by and among Pacific Gas and Electric Company (the
20                    “Borrower”), PG&E Corp. and the other Guarantors (the “Guarantors”),
                      the several banks and other financial institutions or entities from time to
21                    time party thereto as lenders or issuing lenders (collectively, the “DIP
                      Lenders”), J.P. Morgan Securities LLC, Merrill Lynch, Pierce, Fenner &
22
                      Smith Incorporated, Barclays Bank PLC, Citibank, N.A., BNP Paribas
23                    Securities Corp., Credit Suisse Loan Funding LLC, Goldman Sachs Bank
                      USA, MUFG Union Bank, N.A. and Wells Fargo Bank Securities, LLC,
24                    as joint lead arrangers and joint bookrunners (together and in such
                      capacities, the “DIP Arrangers”), JPMorgan Chase Bank, N.A., as
25                    administrative agent (in such capacity, and together with its successors
26
          1
            Capitalized terms used herein but not otherwise defined herein shall have the meanings given to
27   them in the DIP Credit Agreement.

28
                                                      2
 Case: 19-30088         Doc# 23-1        Filed: 01/29/19        Entered: 01/29/19 02:24:53              Page 3 of
                                                     37
1                 and permitted assigns, the “DIP Administrative Agent or “JPMCB”),
                  and Citibank, N.A., as collateral agent (in such capacity, and together with
2                 its successors and permitted assigns, the “DIP Collateral Agent”, and
                  together with the DIP Administrative Agent, the “DIP Agents”), which
3
                  credit facility shall comprise (a) a revolving credit facility (the “DIP
4                 Revolving Facility”; the loans incurred thereunder, the “DIP Revolving
                  Loans”) with aggregate commitments of up to $3,500,000,000, including
5                 a letter of credit sub-facility in an aggregate amount of up to
                  $1,500,000,000, (b) a term loan facility (the “DIP Term Loan Facility”)
6                 in an aggregate principal amount of $1,500,000,000 (the loans incurred
                  thereunder, the “DIP Term Loans”) and (c) a delayed draw term loan
7
                  facility in an aggregate principal amount of $500,000,000 (the “DIP
8                 Delayed Draw Term Loan Facility”) (the loans incurred thereunder, the
                  “DIP Delayed Draw Term Loans”; the DIP Delayed Draw Term Loans
9                 together with the DIP Revolving Loans and the DIP Term Loans, the
                  “DIP Loans”; the DIP Delayed Draw Term Loan Facility, together with
10                the DIP Revolving Facility and the DIP Term Loan Facility, the “DIP
11                Facilities”);
          (ii)    authorizing the Guarantors (together with the Borrower, the “Loan
12                Parties”) to jointly and severally guarantee on a senior secured
13                superpriority basis the DIP Loans and the DIP Obligations (as defined
                  below);
14
          (iii)   authorizing the Debtors to execute and deliver the DIP Credit Agreement
15                and other documentation, including security agreements, pledge
                  agreements, mortgages, guaranties, promissory notes, certificates,
16                instruments, the commitment letter, the Fee Letters (as defined below),
                  and such other documentation which may be necessary or required to
17                implement the DIP Facilities and perform thereunder and/or that may be
18                reasonably requested by the DIP Administrative Agent, in each case, as
                  amended, restated, supplemented or otherwise modified from time to time
19                in accordance with the terms thereof and hereof (collectively, together
                  with the DIP Credit Agreement, the “DIP Loan Documents”; all loans,
20                advances, extensions of credit, financial accommodations, reimbursement
                  obligations, fees (including, without limitation, commitment fees,
21                administrative agency fees and other fees payable pursuant to the Fee
22                Letters), costs, expenses and other liabilities, all other obligations
                  (including indemnities and similar obligations, whether contingent or
23                absolute) and all other amounts due or payable under the DIP Loan
                  Documents, collectively, the “DIP Obligations”), and to perform such
24                other and further acts as may be necessary, desirable or appropriate in
                  connection therewith;
25
          (iv)    granting to the DIP Agents for the benefit of the DIP Lenders
26                (collectively, the “DIP Secured Parties”) allowed superpriority
                  administrative claims pursuant to section 364(c)(1) of the Bankruptcy
27
                  Code in respect of all DIP Obligations, and valid, enforceable, non-
28
                                               3
 Case: 19-30088    Doc# 23-1      Filed: 01/29/19    Entered: 01/29/19 02:24:53        Page 4 of
                                              37
1                    avoidable and automatically perfected liens on and security interests in all
                     DIP Collateral (as defined below), pursuant to sections 364(c)(2) and
2                    364(c)(3) of the Bankruptcy Code, to secure the DIP Obligations, in each
                     case as and to the extent, and subject to the relative ranking and priorities
3
                     (and, in any event, junior to the Carve-Out), set forth in this Interim Order;
4           (v)      authorizing the Debtors to use proceeds of the DIP Facilities, solely in
5                    accordance with this Interim Order and the DIP Loan Documents;
            (vi)     authorizing the Debtors to pay all fees, costs and expenses due pursuant to
6
                     the DIP Credit Agreement, the other DIP Loan Documents and the Fee
7                    Letters;
            (vii)    vacating or modifying the automatic stay imposed by section 362 of the
8
                     Bankruptcy Code to the extent necessary to implement and effectuate the
9                    terms and provisions of this Interim Order;

10          (viii)   scheduling a final hearing (the “Final Hearing”) to consider entry of the
                     Final Order granting the relief requested in the Motion on a final basis and
11                   approving the form of notice with respect to the Final Hearing and the
                     transactions contemplated by the Motion; and
12
            (ix)     waiving any applicable stay (including under Bankruptcy Rule 6004) with
13                   respect to the effectiveness and enforceability of this Interim Order and
                     providing for the immediate effectiveness of this Interim Order.
14
                     The Court, having considered the Motion, the terms of the DIP Facilities,
15
     the DIP Credit Agreement and the declarations of David Kurtz (the “Kurtz
16
     Declaration”) and Jason P. Wells (the “Wells Declaration”) filed in support of the
17
     Motion, and the evidence submitted at the interim hearing held before this Court on
18
     January [●], 2019 (the “Interim Hearing”) to consider entry of this Interim Order; and in
19
     accordance with Bankruptcy Rule 4001(c)(2), due and proper notice of the Motion and
20
     the Interim Hearing having been given; and it appearing that approval of the interim relief
21
     requested in the Motion is necessary to avoid immediate and irreparable harm to the
22
     Debtors pending the Final Hearing, and is otherwise fair and reasonable and in the best
23
     interests of the Debtors, their creditors and their estates, and essential for the continued
24
     operation of the Debtors’ businesses; and all objections, if any, to the entry of this Interim
25
     Order having been withdrawn, resolved or overruled by the Court; and after due
26
     deliberation and consideration, and for good and sufficient cause appearing therefor:
27

28
                                                  4
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53        Page 5 of
                                                 37
1             THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF
                          FACT AND CONCLUSIONS OF LAW2
2
              A.       Petition Date.
3
              On January 29, 2019 (the “Petition Date”), each of the Debtors filed a voluntary
4
     petition for relief under Chapter 11 of the Bankruptcy Code in the United States
5
     Bankruptcy Court for the Northern District of California commencing these Chapter 11
6
     cases (the “Chapter 11 Cases”).
7
              B.       Debtors-in-Possession.
8
              The Debtors are continuing to operate their businesses and manage their
9
     respective properties as debtors-in-possession pursuant to sections 1107 and 1108 of the
10
     Bankruptcy Code. No trustee or examiner has been appointed in any of the Chapter 11
11
     Cases.
12
              C.       Jurisdiction and Venue.
13
              The Court has jurisdiction over these proceedings, pursuant to 28 U.S.C. §§ 157
14
     and 1334 and the Order Referring Bankruptcy Cases and Proceedings to Bankruptcy
15
     Judges, General Order 24 (N.D. Cal.) and Rule 5011-1(a) of the Bankruptcy Local Rules
16
     for the United States District Court for the Northern District of California. Consideration
17
     of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue for the
18
     Chapter 11 Cases and the proceedings on the Motion is proper in this district pursuant to
19
     28 U.S.C. §§ 1408 and 1409. The bases for the relief sought in the Motion and granted in
20
     this Interim Order are sections 105, 362, 363, 364, 503 and 507 of the Bankruptcy Code,
21
     Bankruptcy Rules 2002, 4001, 6004 and 9014, and the Local Bankruptcy Rules.
22
23

24
25
          2
            The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions
26   of law pursuant to Bankruptcy Rule 7052. To the extent any findings of fact constitute conclusions of law,
     they are adopted as such. To the extent any conclusions of law constitute findings of fact, they are adopted
27   as such.

28
                                                       5
 Case: 19-30088         Doc# 23-1         Filed: 01/29/19        Entered: 01/29/19 02:24:53             Page 6 of
                                                      37
1           D.      Notice.
2           Notice of the Interim Hearing and the relief requested in the Motion has been

3    provided by facsimile, electronic mail or overnight mail to: (a) the Office of the U.S.

4    Trustee for Region 17 (Attn: Tracy Hope Davis, Esq. and Timothy Laffredi, Esq.) (the
5    “U.S. Trustee”); (b) counsel to the DIP Agents; (c) the Debtors’ fifty (50) largest
6    unsecured creditors on a consolidated basis; (d) the Securities and Exchange

7    Commission; (e) the Internal Revenue Service; (f) the Office of the California Attorney
8    General on behalf of the California Public Utilities Commission; (g) the Nuclear

9    Regulatory Commission; (h) the Federal Energy Regulatory Commission; (i) the Office

10   of the United States Attorney for the Northern District of California; (j) all known parties

11   asserting a lien on, or a security interest in, the assets of the Debtors to the extent

12   reasonably known to the Debtors and (k) those persons who have formally appeared in

13   the Chapter 11 Cases and requested service pursuant to Bankruptcy Rule 2002

14   (collectively, the “Notice Parties”). Under the circumstances, such notice of the Interim
15   Hearing and the relief requested in the Motion constitutes due, sufficient and appropriate

16   notice and complies with section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002

17   and 4001(c), and the Local Bankruptcy Rules.

18          E.      Committee Formation.
19          As of the date hereof, no statutory committee (“Committee”) has been appointed
20   in the Chapter 11 Cases.

21          F.      Permitted Prior Liens.
22          Nothing herein shall constitute a finding or ruling by the Court that any alleged
23   Permitted Prior Lien or Senior Permitted Lien is valid, senior, enforceable, prior,

24   perfected, or non-avoidable. Moreover, nothing herein shall prejudice the rights of any
25   party-in-interest, including, but not limited to the Debtors or the DIP Secured Parties, to

26   challenge the validity, priority, enforceability, seniority, avoidability, perfection, or
27   extent of any alleged Permitted Prior Lien or Senior Permitted Lien.

28
                                                 6
 Case: 19-30088      Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53        Page 7 of
                                                37
1           G.      Immediate Need for Postpetition Financing.
2           The Debtors have requested immediate entry of this Interim Order pursuant to

3    Bankruptcy Rule 4001(c)(2) and the Local Bankruptcy Rules. Good cause has been

4    shown for immediate entry of this Interim Order pursuant to such rules. An immediate
5    need exists for the Debtors to obtain funds and liquidity in order to, as the case may be,

6    continue operations, to pay the costs and expenses of administering the Chapter 11 Cases,

7    and to administer and preserve the value of their businesses and estates. The ability of
8    the Debtors to finance their operations, to preserve and maintain the value of their assets

9    and to maximize the return for all creditors requires the availability of the DIP Facilities.

10   In the absence of the availability of such funds and liquidity in accordance with the terms

11   hereof, the continued operation of the Debtors’ businesses would not be possible, and

12   serious and irreparable harm to the Debtors and their estates, creditors and other

13   stakeholders would occur. Thus, the ability of the Debtors to preserve and maintain the

14   value of their assets and maximize the return for creditors requires the availability of

15   working capital from the DIP Facilities.

16          H.      No Credit Available on More Favorable Terms.
17          The Debtors have been unable to obtain (a) adequate unsecured credit allowable

18   under section 503(b)(1) of the Bankruptcy Code as an administrative expense or (b)
19   credit for money borrowed with priority over any or all administrative expenses of the

20   kind specified in sections 503(b) or 507(b) of the Bankruptcy Code. The Debtors have

21   been unable to obtain credit for borrowed money without granting the DIP Liens, the DIP
22   Superpriority Claim (defined below) and certain other protections set forth herein to (or
23   for the benefit of) the DIP Secured Parties. Moreover, the Debtors were unable to obtain

24   financing from sources other than the DIP Lenders on more favorable terms and
25   conditions than the terms and conditions of the DIP Facilities.

26
27

28
                                                 7
 Case: 19-30088       Doc# 23-1     Filed: 01/29/19     Entered: 01/29/19 02:24:53         Page 8 of
                                                37
1           I.      Extension of Financing.
2           The DIP Secured Parties have indicated a willingness to provide financing to the

3    Loan Parties in accordance with the DIP Credit Agreement and the other DIP Loan

4    Documents, subject to (i) the entry of this Interim Order, including, among other things,
5    approval of the benefits and protections for the DIP Secured Parties contained herein,

6    (ii) approval of the DIP Loan Documents, and (iii) findings by this Court that such

7    financing is essential to the Debtors’ estates (and the continued operation of the Loan
8    Parties and their Subsidiaries), that the DIP Secured Parties are good faith financiers, and

9    that the DIP Secured Parties’ claims, superpriority claims, security interests and liens and

10   other protections granted pursuant to and in connection with this Interim Order (and the

11   Final Order) and the DIP Facilities (including the DIP Superpriority Claim and the DIP

12   Liens), will not be affected by any subsequent reversal, modification, vacatur, stay or

13   amendment of, as the case may be, this Interim Order, the Final Order or any other order,

14   as provided in section 364(e) of the Bankruptcy Code.

15          J.      Business Judgment and Good Faith Pursuant to Section 364(e).
16          (i)     The DIP Loan Documents are the result of a competitive process
                    conducted by the Debtors, along with their advisors. The Debtors, in
17                  consultation with their advisors, concluded that the DIP Facilities
                    represent the best available financing under the circumstances. The DIP
18
                    Credit Agreement and the other DIP Loan Documents were negotiated in
19                  good faith and at arm’s length among the Debtors and the DIP Secured
                    Parties. The terms and conditions of the DIP Facilities, the DIP Credit
20                  Agreement and the other DIP Loan Documents, and the fees paid and to
                    be paid thereunder and under the Fee Letters, are fair, reasonable, and the
21                  best available under the circumstances, reflect the Debtors’ exercise of
                    prudent business judgment consistent with their fiduciary duties, and
22
                    constitute reasonably equivalent value and consideration.
23          (ii)    All obligations incurred, payments made, and transfers or grants of
24                  security set forth in this Interim Order, the DIP Credit Agreement and the
                    other DIP Loan Documents by any Loan Party are granted to or for the
25                  benefit of the Loan Parties for fair consideration and reasonably equivalent
                    value, and are granted contemporaneously with the making of the loans
26                  and/or commitments and other financial accommodations secured thereby.
27

28
                                                 8
 Case: 19-30088      Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53        Page 9 of
                                                37
1           (iii)   The credit to be extended under the DIP Credit Agreement, the DIP
                    Facilities and the other DIP Loan Documents shall be deemed to be
2                   extended by the DIP Secured Parties in good faith and for valid business
                    purposes and uses, and in express reliance upon the protections offered by
3
                    section 364(e) of the Bankruptcy Code, and each of the DIP Secured
4                   Parties (and the successors and assigns of each) are entitled to the full
                    protection and benefits of section 364(e) of the Bankruptcy Code whether
5                   or not this Interim Order or any provision hereof is vacated, reversed or
                    modified, on appeal or otherwise.
6
            K.      Relief Essential; Best Interest.
7
            The relief requested in the Motion (and provided in this Interim Order) is
8
     necessary, essential and appropriate for the continued operation of the Debtors’
9
     businesses and the management and preservation of their respective assets and property.
10
     It is in the best interest of the Debtors’ estates that the Debtors be allowed to enter into
11
     the DIP Credit Agreement and the other DIP Loan Documents, incur the DIP Obligations
12
     and grant the liens and claims contemplated in the DIP Credit Agreement, in this Interim
13
     Order and under the other DIP Loan Documents to the DIP Secured Parties.
14
                    NOW, THEREFORE, on the Motion of the Debtors and the record
15
     before this Court with respect to the Motion, including the record made during the
16
     Interim Hearing and the Kurtz Declaration and the Wells Declaration, and with the
17
     consent of the Debtors and the DIP Secured Parties, and good and sufficient cause
18
     appearing therefor,
19

20                  IT IS HEREBY ORDERED that:

21          1.      Motion Granted. The Motion is hereby granted on an interim basis in

22   accordance with the terms and conditions set forth in this Interim Order. Any objections

23   to the Motion with respect to entry of this Interim Order to the extent not withdrawn or

24   otherwise resolved, and all reservation of rights included therein, are hereby denied and

25   overruled.

26
27

28
                                                 9
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 10
                                               of 37
1           2.      Authorization of DIP Facilities.
2                   (a)    The DIP Facilities and the DIP Loan Documents are hereby

3    approved. The Debtors are hereby authorized to enter into the DIP Loan Documents and

4    to pay all DIP Obligations without further order of the Court. The Borrower is hereby
5    authorized to borrow money and obtain letters of credit pursuant to the DIP Loan

6    Documents, and the Guarantors are hereby authorized to guarantee such borrowings and

7    letters of credit, up to the aggregate amount of the Interim Financing (as defined below),
8    in each case, in accordance with and subject to the terms of this Interim Order and the

9    DIP Loan Documents.

10                  (b)    In furtherance of the foregoing and without further approval of this

11   Court, each Debtor is authorized to perform all acts, to make, execute and deliver all

12   instruments and documents (including, without limitation, the execution or recordation of

13   any DIP Loan Documents), and to pay all fees, that may be required or necessary for the

14   Debtors’ performance of their obligations under the DIP Facilities, including, without

15   limitation:

16                  (i)    The execution, delivery and performance of the DIP Loan

17          Documents, including, without limitation, the creation and perfection of the DIP

18          Liens described and provided for herein;
19                  (ii)   The execution, delivery and performance of one or more

20          amendments to the DIP Loan Documents for the purpose of (i) adding additional

21          financial institutions as DIP Lenders and reallocating the commitments for the
22          DIP Facilities among the DIP Lenders, in each case in such form as the Debtors,
23          the DIP Administrative Agent and the affected DIP Lenders may agree or (ii) as

24          required by the terms of that certain Fee Letter dated January 21, 2019, by and
25          among PG&E Corporation, Pacific Gas and Electric Company and the DIP

26          Arrangers in order to achieve a Successful Syndication (as defined therein);
27

28
                                               10
 Case: 19-30088        Doc# 23-1    Filed: 01/29/19    Entered: 01/29/19 02:24:53          Page 11
                                              of 37
1                   (iii)   The non-refundable payment to the DIP Administrative Agent, the
2            DIP Arrangers and/or the DIP Lenders, as the case may be, of the fees referred to

3            in the DIP Credit Agreement, the DIP Loan Documents and in the Fee Letters (as

4            defined in the DIP Credit Agreement) (which fees, whether paid prior to or after
5            the date hereof, are hereby approved) and costs and expenses as may be due under

6            the DIP Loan Documents from time to time, including, without limitation, fees

7            and expenses of the professionals retained by the DIP Administrative Agent, the
8            DIP Arrangers and/or the DIP Lenders as and to the extent provided for in the

9            DIP Loan Documents without the necessity of filing retention motions or fee

10           applications (subject to paragraph 17 hereof with respect to the payment of such

11           professional fees and expenses); and

12                  (iv)    The performance of all other acts that may be necessary, required

13           or advisable under or in connection with the DIP Loan Documents.

14                  (c)     The DIP Credit Agreement and the other DIP Loan Documents

15   shall represent, constitute and evidence the DIP Obligations, and the DIP Loan

16   Documents and DIP Obligations shall be valid and binding, joint and several, obligations

17   of the Debtors, enforceable against the Debtors, their estates and any successors thereto,

18   including without limitation, any trustee appointed in any of the Chapter 11 Cases or any
19   case under chapter 7 of the Bankruptcy Code upon conversion of any of the Chapter 11

20   cases (collectively, the “Successor Cases”) in accordance with the terms thereof and this
21   Interim Order.    All obligations incurred, payments made, and transfers or grants of
22   security set forth in this Interim Order, the DIP Credit Agreement or the other DIP Loan
23   Documents by any Loan Party are granted to or for the benefit of the DIP Secured Parties

24   for   fair   consideration   and   reasonably    equivalent   value,   and   are   granted
25   contemporaneously with the making of the loans and/or commitments and other financial

26   accommodations secured thereby. No obligation incurred, payment made, transfer or
27   grant of security set forth in this Interim Order, the DIP Credit Agreement or the other

28
                                               11
 Case: 19-30088        Doc# 23-1    Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 12
                                              of 37
1    DIP Loan Documents, in each case whether pre- or post-petition, by any Loan Party as
2    approved under this Interim Order shall be stayed, restrained, voided, voidable or

3    recoverable under the Bankruptcy Code or under any applicable non-bankruptcy law, or

4    subject to any defense, reduction, subordination, setoff, recoupment, counterclaim or any
5    other challenge under the Bankruptcy Code or any applicable non-bankruptcy law, rule or

6    regulation.

7                   (d)    Authorization for Interim Borrowing. In order to continue to
8    operate the Debtors’ businesses, from the entry of this Interim Order through the DIP

9    Termination Date, subject to the terms and conditions of this Interim Order, the DIP

10   Credit Agreement and the other DIP Loan Documents, the Borrower is hereby authorized

11   to borrow under the DIP Facilities, and the Guarantors are authorized to guarantee such

12   borrowings, in an aggregate principal amount of up to $1,500,000,000 under the DIP

13   Revolving Facility (the “Interim Financing”), incurred pursuant to, and in accordance
14   with, this Interim Order, the DIP Credit Agreement and the other DIP Loan Documents.

15          3.      DIP Liens.     Immediately upon the entry of this Interim Order, and
16   effective as of the Petition Date, in order to secure the DIP Obligations, the DIP

17   Collateral Agent, for the benefit of the DIP Secured Parties, is hereby granted valid,

18   binding, fully and automatically perfected, continuing, enforceable and non-avoidable
19   liens and security interests (collectively, the “DIP Liens”) in the DIP Collateral as
20   collateral security for the prompt and complete performance and payment when due

21   (whether at the stated maturity, by acceleration or otherwise) of the DIP Obligations. The
22   term “DIP Collateral” shall mean all prepetition and postpetition assets and properties
23   (real and personal) of the Debtors, including all “Collateral” as defined in the DIP Credit

24   Agreement, whether now owned by or owing to, or hereafter acquired by, or arising in
25   favor of, the Debtors (including under any trade names, styles, or derivations thereof),

26   whether owned or consigned by or to, or leased from or to, the Debtors, and wherever
27   located including, without limitation, all cash and cash equivalents of the Debtors

28
                                               12
 Case: 19-30088       Doc# 23-1     Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 13
                                              of 37
1    wherever located including, inventory, accounts and accounts receivable, other rights to
2    payment, contracts, instruments, documents and chattel paper, all securities (whether or

3    not marketable), goods, equipment, inventory and fixtures, all real and leasehold property

4    interests, general intangibles, patents, copyrights, trademarks, trade names and all other
5    intellectual property, capital stock, investment property, all books and records,

6    commercial tort claims (including, subject to the approval of the Court in the Final Order,

7    the proceeds of all claims and causes of action arising under Chapter 5 of the Bankruptcy
8    Code) and all accessions to, substitutions and replacements for, and rents, profits and

9    products of, each of the foregoing; provided, however, that the DIP Collateral shall not

10   include (x) Excluded Property (as defined in the DIP Credit Agreement) or (y) any right,

11   title and interest of the Debtors in any asset or property (or any asset or property in

12   respect of a program) set forth on Schedule A of this Interim Order; provided, further,
13   however, that DIP Collateral shall include all proceeds and products of Excluded

14   Property that are not themselves Excluded Property.

15          4.      Priority of DIP Liens.
16                  (a)    The DIP Liens shall have the following priorities (in each case

17   subject to the Carve-Out and Senior Permitted Liens):

18                  (i)    pursuant to Section 364(c)(2) of the Bankruptcy Code, a first-
19          priority perfected lien on, and security interest in, all DIP Collateral that is not

20          subject to a valid, perfected, enforceable and unavoidable lien or security interest

21          on the Petition Date or subject to a valid lien or security interest in existence on
22          the Petition Date that is perfected subsequent thereto as expressly permitted by
23          Section 546(b) of the Bankruptcy Code (the “Permitted Prior Liens”), and
24                  (ii)   pursuant to Section 364(c)(3) of the Bankruptcy Code, a junior
25          perfected lien on, and security interest in, all DIP Collateral that is subject to a

26          Permitted Prior Lien, subject to such Permitted Prior Liens.
27          5.      DIP Superpriority Claim.
28
                                               13
 Case: 19-30088        Doc# 23-1    Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 14
                                              of 37
1                   (a)    Upon the entry of this Interim Order, effective as of the Petition
2    Date, the DIP Agents, for the benefit of the DIP Secured Parties, are hereby granted

3    pursuant to section 364(c)(1) of the Bankruptcy Code, an allowed superpriority

4    administrative expense claim (the “DIP Superpriority Claim”) for all DIP Obligations,
5    (a) which shall rank junior to the Carve-Out and (b) with priority over any and all

6    administrative expense claims, unsecured claims and all other claims asserted against the

7    Debtors (without the need to file a proof of claim) or their estates in any of the Chapter
8    11 Cases or any Successor Cases at any time, now existing or hereafter arising of any

9    kind or nature whatsoever, including all other administrative expenses of the kind

10   specified in or ordered pursuant to sections 105, 326, 328, 330, 331, 364, 365, 503(a),

11   503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 726, 1113 and 1114 of the Bankruptcy

12   Code or applicable non-bankruptcy law, and over any and all other administrative

13   expenses, unsecured or other claims arising under any other provision of the Bankruptcy

14   Code. The DIP Superpriority Claim shall, for purposes of section 1129(a)(9)(A) of the

15   Bankruptcy Code, be considered an administrative expense claim allowed under section

16   503(b) of the Bankruptcy Code, shall be against each Debtor on a joint and several basis,

17   and shall be payable from and have recourse to all prepetition and postpetition property

18   and assets of the Debtors, including all DIP Collateral (including, subject to the approval
19   of the Court in the Final Order, all proceeds of claims and causes of action arising under

20   chapter 5 of the Bankruptcy Code). The DIP Superpriority Claim shall be entitled to the

21   full protection of section 364(e) of the Bankruptcy Code in the event that this Interim
22   Order or any provision hereof is vacated, reversed or stayed in any respect or, except as
23   expressly permitted by the DIP Loan Documents, modified or amended in any manner,

24   on appeal or otherwise.
25                  (b)    Except as expressly permitted herein or in the other DIP Loan

26   Documents, the DIP Liens and the DIP Superpriority Claim, as applicable, (i) shall not be
27   made subject to or pari passu with (A) any lien, security interest or claim heretofore or

28
                                               14
 Case: 19-30088       Doc# 23-1     Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 15
                                              of 37
1    hereinafter granted in any of the Chapter 11 Cases or any Successor Cases, and shall be
2    valid and enforceable against the Debtors, their estates, any trustee or any other estate

3    representative appointed or elected in the Chapter 11 Cases or any Successor Cases

4    and/or upon the dismissal of any of the Chapter 11 Cases or any Successor Cases, (B) any
5    lien that is avoided and preserved for the benefit of the Debtors and their estates under

6    section 551 of the Bankruptcy Code or otherwise, (C) any intercompany or affiliate lien

7    or claim and (D) any liens arising after the Petition Date; and (ii) shall not be subject to
8    sections 510, 549, 550 or 551 of the Bankruptcy Code or, subject to entry of the Final

9    Order, Section 506(c) of the Bankruptcy Code.

10          6.      Use of Proceeds of DIP Facilities; Repayment.
11                  (a)     Subject to the terms and conditions of this Interim Order, the DIP

12   Credit Agreement and the other DIP Loan Documents, the Loan Parties are each

13   authorized to use proceeds of the DIP Facilities up to the amount of the Interim Financing

14   on an interim basis, only for the purposes, and upon the terms and conditions set forth

15   herein (a) to provide working capital and general corporate purposes, and (b) to pay fees,

16   costs and expenses incurred in connection with the transactions contemplated by the DIP

17   Loan Documents and professional and other fees and costs of administration incurred in

18   connection with the Chapter 11 Cases, in each case, in accordance with and subject to the
19   terms of this Interim Order and the DIP Loan Documents.

20                  (b)     Lien Perfection.     This Interim Order shall be sufficient and
21   conclusive evidence of the validity, enforceability, perfection and priority of the DIP
22   Liens without the necessity of filing or recording any financing statement, deed of trust,
23   mortgage, or other instrument or document which may otherwise be required under the

24   law of any jurisdiction or the taking of any other action to validate or perfect the DIP
25   Liens or to entitle the DIP Liens to the priorities granted herein. Notwithstanding the

26   foregoing, the Loan Parties shall be authorized to execute and deliver to the DIP Agents
27   all financing statements, security agreements, notices of liens and other similar

28
                                                15
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 16
                                               of 37
1    documents as the DIP Agents may reasonably request to grant, preserve, protect and
2    perfect the validity and priority of the DIP Liens; provided, however, that

3    notwithstanding anything to the contrary in this Interim Order, the DIP Credit Agreement

4    or any other DIP Loan Document, no such filing or recordation shall be necessary or
5    required to perfect the DIP Liens, and no Loan Party or any Subsidiary of a Loan Party

6    shall be required to execute or deliver any mortgage, authorize any fixture filing, execute

7    or deliver any agreement providing “control” as defined in Section 9-104, 9-105, 9-106
8    and 9-107 of the UCC as in effect in any relevant jurisdiction or undertake any

9    registration in respect of assets subject to a certificate of title in order to perfect the DIP

10   Liens in any portion of the DIP Collateral, including any and all cash wherever located or

11   held, and all such liens and security interests are hereby deemed fully and automatically

12   perfected. The DIP Agents may, in their sole discretion, file such financing statements,

13   security agreements, notices of liens and other similar documents, and are hereby granted

14   relief from the automatic stay of section 362 of the Bankruptcy Code in order to do so,

15   and all such financing statements, security agreements, notices of liens and other similar

16   documents shall be deemed to have been filed or recorded on the Petition Date. The DIP

17   Agents, in their sole discretion, may file a copy of this Interim Order as a financing

18   statement with any recording officer designated to file financing statements or with any
19   registry of deeds or similar office in any jurisdiction in which any Loan Party has real or

20   personal property and, in such event, the subject filing or recording officer shall be

21   authorized to file or record such copy of this Interim Order.
22          7.      Maintenance of DIP Collateral; Cash Management. Unless the DIP
23   Administrative Agent otherwise consents in writing, until the indefeasible payment in full

24   of all DIP Obligations (other than any indemnity, unliquidated or contingent claims that
25   are not yet due and payable) and the termination of the DIP Agents’ and the DIP Lenders’

26   obligations to extend credit under the DIP Facilities (“payment in full” or “paid in
27   full”), the Debtors shall continue to maintain all property, operational and other insurance
28
                                                 16
 Case: 19-30088        Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53         Page 17
                                                of 37
1    as and to the extent required and specified in the DIP Loan Documents. Upon entry of
2    this Interim Order and to the fullest extent provided by applicable law, the DIP Agents

3    (on behalf of the DIP Lenders) shall be, and shall be deemed to be, without any further

4    action or notice, named as additional insureds and loss payees on each insurance policy
5    maintained by the Debtors that in any way relates to the DIP Collateral.

6           8.      Limitations on the Use of Proceeds. None of the DIP Facilities, the DIP
7    Collateral, the DIP Loans, proceeds of any of the foregoing, any portion of the Carve-Out
8    or any other funds may be used, directly or indirectly, by any of the Debtors, any

9    Committee, if any, or any trustee or other estate representative appointed in the Chapter

10   11 Cases or any Successor Cases or any other person or entity to do any of the following

11   (nor shall any professional fees, disbursements, costs or expenses be paid in connection

12   therewith): (a) to object to, contest, prevent, hinder, delay or interfere with, in any way,

13   the DIP Agents’ or the DIP Lenders’ enforcement or realization upon any of the DIP

14   Collateral once a DIP Termination Event (as defined below) occurs (other than with

15   respect to rights otherwise granted herein with respect to the Remedies Notice Period);

16   (b) to object to or challenge in any way the DIP Liens, the DIP Obligations or the DIP

17   Collateral or any other claims or liens held by or on behalf of any of the DIP Agents or

18   the DIP Lenders, in each case in their capacity as such; or (c) to investigate (including by
19   way of examinations or discovery proceedings, whether formal or informal), prepare,

20   assert, join, commence, support or prosecute any action for any claim, counter-claim,

21   action, proceeding, application, motion, objection, defense, or other contested matter
22   seeking any order, judgment, determination or similar relief against, or adverse in any
23   material respect to the interests of, any of the DIP Secured Parties or any of their

24   respective affiliates, subsidiaries, agents, officers, directors, shareholders, employees,
25   agents, attorneys, advisors, professionals, predecessors in interest, successors and assigns

26   with respect to any transaction, occurrence, omission, action or other matter arising
27   under, in connection with or related to this Interim Order, the DIP Facilities or the DIP

28
                                                17
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 18
                                               of 37
1    Loan Documents, including, without limitation, (A) any claims or causes of action arising
2    under chapter 5 of the Bankruptcy Code, (B) any so-called “lender liability” claims and

3    causes of action, (C) any claim or cause of action with respect to the validity,

4    enforceability, priority and extent of, or asserting any defense, counterclaim, or offset to,
5    the DIP Obligations, the DIP Superpriority Claim, the DIP Liens or the DIP Loan

6    Documents, (D) any claim or cause of action seeking to challenge, invalidate, modify, set

7    aside, avoid, marshal, subordinate, disallow, or recharacterize in whole or in part, the DIP
8    Obligations, the DIP Liens, the DIP Superpriority Claim or the DIP Collateral, (E) any

9    action seeking to modify any of the rights, remedies, priorities, privileges, protections and

10   benefits granted to the DIP Agents or the DIP Lenders hereunder or under any of the DIP

11   Loan Documents (in each case, including, without limitation, claims, proceedings or

12   actions that has the effect of preventing, hindering or delaying any of the DIP Agents’ or

13   the DIP Lenders’ assertions, enforcements, realizations or remedies on or against the DIP

14   Collateral in accordance with the applicable DIP Loan Documents and this Interim Order;

15   provided, however, that an amount no more than $100,000 in the aggregate, to be

16   incurred solely by any Committee, of the DIP Collateral or the Carve-Out, or proceeds

17   from the borrowings under the DIP Facilities or any other amounts, may be used for

18   allowed fees and expenses in investigating (but not initiating, commencing, litigating or
19   prosecuting (including by way of formal discovery)) any potential Challenge, within the

20   applicable Challenge Period (as defined below).

21          9.      No Further Consents. To the fullest extent permitted by the Bankruptcy
22   Code or applicable law, any provision of any lease, loan document, easement, use
23   agreement, proffer, covenant, license, contract, organizational document or other

24   instrument or agreement that requires the consent of any party or the payment of any fees
25   or obligations to any governmental entity or non-governmental entity in order for the

26   Debtors to pledge, grant, mortgage, sell, assign or otherwise transfer any fee or leasehold
27   interest or the proceeds thereof or any other DIP Collateral is hereby deemed to be

28
                                                18
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53        Page 19
                                               of 37
1    inconsistent with the applicable provisions of the Bankruptcy Code and shall have no
2    force or effect with respect to the DIP Liens on such leasehold interests or such other DIP

3    Collateral or the proceeds of any assignment and/or sale thereof by any Debtor in favor of

4    the DIP Secured Parties in accordance with the terms of the DIP Loan Documents and
5    this Interim Order.

6           10.     Carve-Out.
7                   (a)     Subject to the terms and conditions contained in this paragraph 10,
8    the DIP Liens and the DIP Superpriority Claim shall be subject and subordinate to a

9    carve-out (the “Carve-Out”), which shall comprise the following: (i) all fees required to
10   be paid to the Clerk of the Court and to the Office of the U.S. Trustee pursuant to 28

11   U.S.C. § 1930(a) plus interest at the statutory rate (without regard to the notice set forth

12   in (iii) below); (ii) all reasonable and documented fees and expenses, in an aggregate

13   amount not to exceed $100,000, incurred by a trustee under section 726(b) of the

14   Bankruptcy Code (without regard to the notice set forth in (iii) below); and (iii) all

15   accrued and unpaid fees, costs and expenses (the “Estate Professional Fees”) incurred
16   by persons or firms retained by the Debtors (including for the avoidance of doubt,

17   Cravath, Swaine & Moore LLP and Weil Gotshal & Manges LLP) or any Committee, if

18   any, pursuant to sections 327, 328, 330, 363 or 1103 of the Bankruptcy Code
19   (collectively, “Estate Professionals”) (x) at any time before or on the day of delivery by
20   the DIP Agents of a Carve-Out Trigger Notice (defined below), whether allowed by the

21   Court prior to or after delivery of a Carve-Out Trigger Notice, and (y) after the date (the
22   “Trigger Date”) on which the DIP Agents provide written notice stating that such notice
23   is a “Carve-Out Trigger Notice” (the “Carve-Out Trigger Notice”) that a DIP
24   Termination Event has occurred and has triggered the Carve-Out, to the extent allowed at
25   any time, the payment of any Estate Professional Fees of Estate Professionals in an

26   amount not exceeding $25,000,000 in the aggregate incurred after the Trigger Date (the
27   “Post-Carve-Out Trigger Notice Cap”). The dollar limitation in clause (iii)(y) above
28
                                                19
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 20
                                               of 37
1    on fees and expenses shall not be reduced or increased by the amount of any
2    compensation or reimbursement of expenses paid prior to the occurrence of a DIP

3    Termination Event in respect of which the Carve-Out is invoked. The ability of any party

4    to object to the fees, expenses, reimbursement or compensation described above shall not
5    be impaired by the terms of the Carve-Out.

6                   (b)    On the day on which a Carve-Out Trigger Notice is given by the

7    DIP Agents to the Borrower, the Debtors shall promptly provide notice by email to all
8    Estate Professionals, at the email addresses set forth in each Estate Professional’s notice

9    of appearance filed with the Court (or, if there is no such notice of appearance, at such

10   Estate Professional’s last known email address) informing them that such Carve-Out

11   Trigger Notice has been received and further advising them that the Debtors’ ability to

12   pay such Estate Professional’s is subject to and limited by the Carve-Out.

13                  (c)    Nothing herein or in any of the DIP Loan Documents shall be

14   construed as consent to the allowance of any particular professional fees or expense of

15   the Debtors, of any Committee, or of any other person or shall affect the right of the DIP

16   Secured Parties to object to the allowance and payment of such fees and expenses. The

17   DIP Secured Parties shall not be responsible for the direct payment or reimbursement of

18   any fees or disbursements of any Estate Professionals incurred in connection with the
19   Chapter 11 Cases or any Successor Cases under any chapter of the Bankruptcy Code.

20   Nothing in the Interim Order or otherwise shall be construed to obligate the DIP Secured

21   Parties in any way to pay compensation to or to reimburse expenses of any Estate
22   Professional, or to guarantee that the Debtors have sufficient funds to pay such
23   compensation or reimbursement.

24                  (d)    For the avoidance of doubt, the DIP Agents and the DIP Lenders
25   shall have no obligation to lend or advance any additional funds to or on behalf of

26   Debtors, or provide any other financial accommodations to Debtors, immediately upon or
27   after the occurrence of a DIP Termination Event, or upon the occurrence of any act, event

28
                                               20
 Case: 19-30088       Doc# 23-1     Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 21
                                              of 37
1    or condition that, with the giving of notice or the passage of time, or both, would
2    constitute a DIP Termination Event.

3                   (e)    For the avoidance of doubt and notwithstanding anything to the

4    contrary in this Interim Order or in the DIP Loan Documents, the Carve-Out shall be
5    senior to all liens and claims securing the DIP Facility, and any and all other forms of

6    liens or claims securing the DIP Obligations.

7           11.     Proceeds of Subsequent Financing. If at any time prior to payment in
8    full of all DIP Obligations, the Debtors, the Debtors’ estates, any trustee, any examiner or

9    any responsible officer subsequently appointed in the Chapter 11 Cases or the Successor

10   Cases, shall in violation of this Interim Order, the DIP Credit Agreement or the other DIP

11   Loan Documents, obtain credit or incur debt pursuant to sections 364(b), (c) or (d) of the

12   Bankruptcy Code, and such financings are secured by any DIP Collateral, then all of the

13   cash proceeds derived from such credit or debt shall immediately be turned over to the

14   DIP Agents for application in accordance with the DIP Credit Agreement or the other

15   DIP Loan Documents.

16          12.     Disposition of Collateral. The Debtors shall not sell (including, without
17   limitation, any sale and leaseback transaction), transfer (including any assignment of

18   rights), lease, encumber or otherwise dispose of any portion of the Collateral, except as
19   expressly permitted by the DIP Credit Agreement or the other DIP Loan Documents.

20          13.     Termination Events.
21                  (a)    Each of the following occurrences or events shall constitute a
22   termination event under this Interim Order (each, a “DIP Termination Event”, and the
23   date upon which such DIP Termination Event occurs, the “DIP Termination Date”): (i)
24   the occurrence of the scheduled maturity date of the DIP Facilities (subject to extension
25   to the extent expressly set forth in Section 2.5 of the DIP Credit Agreement); (ii) April

26   15, 2019, if the Final Order, in form and substance reasonably satisfactory to the DIP
27   Administrative Agent and the Debtors, has not been entered by the Court by such date;

28
                                                21
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19    Entered: 01/29/19 02:24:53        Page 22
                                               of 37
1    (iii) the consummation of a sale of all or substantially all of the Debtors’ assets under
2    Section 363 of the Bankruptcy Code; (iv) the date of substantial consummation (as

3    defined in Section 1101 of the Bankruptcy Code and which for purposes hereof shall be

4    no earlier than the “effective date” thereof) of any Chapter 11 plan; and (v) the
5    occurrence and continuation of an Event of Default (as defined in the DIP Credit

6    Agreement).

7           14.     Rights and Remedies Upon DIP Termination Event; Modification of
8    Automatic Stay.
9                   (a)    Any automatic stay otherwise applicable to the DIP Secured

10   Parties, whether arising under sections 105 or 362 of the Bankruptcy Code or otherwise,

11   is hereby modified, without further notice to, hearing of, or order from this Court, to the

12   extent necessary to permit the DIP Agents, upon the occurrence and during the

13   continuation of a DIP Termination Event, to exercise all rights and remedies provided for

14   in this Interim Order, any of the DIP Loan Documents or applicable law, including,

15   without limitation, (i) declare the termination, reduction or restriction of any further

16   commitment to the extent any such commitment remains (including provision of any

17   letters of credit) under the DIP Facilities, (ii) declare all DIP Obligations to be

18   immediately due and payable, without presentment, demand, protest, or other notice of
19   any kind, all of which are expressly waived by the Debtors, (iii) the termination of the

20   DIP Loan Documents as to any future liability or obligation of the DIP Agents and the

21   DIP Lenders, but without affecting any of the DIP Liens or the DIP Obligations of any
22   Loan Party, (iv) freeze monies or balances in the Debtors’ accounts and/or set off any and
23   all amounts in accounts maintained by the Debtors with the DIP Agents or the DIP

24   Lenders against the DIP Obligations, (v) otherwise enforce any and all rights against the
25   DIP Collateral under the DIP Loan Documents and (vi) take any other actions or exercise

26   any other rights or remedies permitted under this Interim Order, the DIP Loan Documents
27   or applicable law; provided that, prior to the exercise of any right in clause (iv) through

28
                                               22
 Case: 19-30088        Doc# 23-1    Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 23
                                              of 37
1    (vi) of this paragraph, the DIP Administrative Agent, at the direction of the Required
2    Lenders, shall provide seven (7) calendar days’ written notice (which may be via

3    electronic mail or other electronic means) to lead counsel to the Debtors, lead counsel to

4    any Committee, bankruptcy counsel to the CPUC and the U.S. Trustee of the occurrence
5    of a DIP Termination Event and its intent to exercise such rights and remedies (the

6    “Remedies Notice Period”).
7                    (b)      Unless during such Remedies Notice Period, the Court determines
8    that a DIP Termination Event has not occurred, the automatic stay imposed under section

9    105 or 362(a) of the Bankruptcy Code or otherwise as to the DIP Administrative Agent

10   and the DIP Lenders, shall automatically be terminated immediately upon the expiration

11   of the Remedies Notice Period, and the DIP Administrative Agent and the DIP Lenders

12   shall be permitted to exercise any and all rights and remedies set forth herein, in the DIP

13   Loan Documents and as otherwise available at law without further order of or application

14   to the Court.

15                   (c)      The automatic stay imposed under section 362(a) of the

16   Bankruptcy Code is hereby modified pursuant to the terms of this Interim Order as

17   necessary to permit (a) the Debtors to grant the DIP Liens and the DIP Superpriority

18   Claim, (b) the Debtors to incur all DIP Obligations and pay all fees, costs and expenses
19   under the DIP Credit Agreement and the other DIP Loan Documents, and (c) the

20   implementation of all of the terms, rights, benefits, privileges and remedies of this

21   Interim Order and the DIP Loan Documents, in each case, without further notice, hearing
22   or order of the Court.
23          15.      Proofs of Claim. None of the DIP Secured Parties shall be required to
24   file proofs of claim in any of the Chapter 11 Cases or any Successor Cases for any claim
25   allowed in this Interim Order. Notwithstanding any order entered by the Court in relation

26   to the establishment of a bar date in any of the Chapter 11 Cases or any Successor Cases
27   to the contrary, the DIP Agents, on behalf of themselves and the DIP Secured Parties, are

28
                                                 23
 Case: 19-30088        Doc# 23-1      Filed: 01/29/19   Entered: 01/29/19 02:24:53       Page 24
                                                of 37
1    hereby authorized and entitled, in their sole and absolute discretion, but not required, to
2    file (and amend and/or supplement, as each sees fit) a proof of claim and/or aggregate

3    proofs of claim in each of the Chapter 11 Cases or any Successor Cases for any claim

4    allowed in this Interim Order; for avoidance of doubt, any such proof of claim may (but
5    is not required to be) filed as one consolidated proof of claim against all of the Debtors,

6    rather than as separate proofs of claim against each Debtor. Any proof of claim filed by

7    the DIP Agents shall be deemed to be in addition to and not in lieu of any other proof of
8    claim that may be filed by any of the respective DIP Secured Parties. Any order entered

9    by the Court in relation to the establishment of a bar date for any claim (including

10   without limitation administrative claims) in any of the Chapter 11 Cases or any Successor

11   Cases shall not apply to the DIP Agents or the other DIP Secured Parties.

12          16.     Good Faith Under Section 364(e) of the Bankruptcy Code; No
13   Modification or Stay of this Interim Order. The DIP Secured Parties have acted in
14   good faith in connection with the DIP Facilities, and their reliance upon this Interim

15   Order is in good faith. Based on the findings set forth in this Interim Order and the

16   record made at the Interim Hearing, and in accordance with section 364(e) of the

17   Bankruptcy Code, in the event any or all of the provisions of this Interim Order are

18   hereafter modified, amended, vacated or stayed by a subsequent order of this Court or
19   any other court, the DIP Secured Parties are entitled to all the protections and benefits

20   provided by section 364(e) of the Bankruptcy Code.

21          17.     Expenses.     The Debtors are authorized to pay all prepetition and
22   postpetition fees, costs, disbursement and expenses of the DIP Agents and the DIP
23   Lenders that are payable by Debtors in accordance with the DIP Loan Documents and

24   this Interim Order. The invoice for any such fees and expenses shall not be required to
25   comply with the U.S. Trustee guidelines, but shall be reasonably detailed (and may be

26   redacted for privilege or confidentiality concerns), and shall be sent to the U.S. Trustee,
27   lead counsel for any Committee appointed in the Debtors’ Chapter 11 Cases and lead

28
                                               24
 Case: 19-30088       Doc# 23-1     Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 25
                                              of 37
1    counsel to the Debtors (collectively, the “Fee Notice Parties”). If no objection to
2    payment of the requested fees and expenses are made, in writing by any of the Fee Notice

3    Parties within ten (10) calendar days after delivery of such invoices (the “Fee Objection
4    Period”), then, without further order of, or application to, the Court or notice to any other
5    party, such fees and expenses shall be paid by the Debtors to the extent payable in

6    accordance with the terms of the DIP Credit Agreement. If an objection is made by any

7    of the Fee Notice Parties within the Fee Objection Period to payment of the requested
8    fees and expenses, then only the disputed portion of such fees and expenses shall not be

9    paid until the objection is resolved by the applicable parties in good faith or by order of

10   the Court, and the undisputed portion shall be paid by the Debtors to the extent payable in

11   accordance with the terms of the DIP Credit Agreement. Notwithstanding the foregoing,

12   the Debtors are authorized to pay on the Closing Date all reasonable and documented

13   fees, costs, and out-of-pocket expenses of the DIP Administrative Agent incurred on or

14   prior to such date to the extent payable in accordance with the terms of the DIP Credit

15   Agreement.

16           18.    Indemnification. The Debtors are authorized to indemnify and hold
17   harmless the DIP Agents, the DIP Lenders and each of the Indemnitees (as defined in the

18   DIP Credit Agreement) in accordance with and subject to the terms and conditions of the
19   DIP Credit Agreement.

20           19.    Binding Effect. The provisions of this Interim Order shall be binding
21   upon and inure to the benefit of the Debtors, the DIP Secured Parties and their respective
22   successors and assigns (including any trustee or other fiduciary hereinafter appointed as a
23   legal representative of the Debtors or with respect to the property of the estates of the

24   Debtors), any and all creditors of the Debtors, any Committee and any other parties in
25   interests and each of their respective successors and assigns, whether in the Chapter 11

26   Cases, in any Successor Cases, or upon dismissal of any such chapter 11 or chapter 7
27   case.

28
                                                25
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53        Page 26
                                               of 37
1           20.     No Waiver by Failure to Seek Relief. The failure at any time of the DIP
2    Secured Parties to require strict performance by the Debtors of any provision of this

3    Interim Order, or to seek relief or otherwise exercise their rights and remedies under this

4    Interim Order, the DIP Credit Agreement or the other DIP Loan Documents or otherwise,
5    shall not prejudice or constitute a waiver of any of the DIP Secured Parties’ rights

6    hereunder, thereunder, or otherwise. None of the rights or remedies of any party under

7    this Interim Order shall be deemed to have been amended, modified, suspended or
8    waived unless such amendment, modification, suspension or waiver is in writing and

9    signed by the party against whom enforcement is sought. No consents required hereunder

10   by any of the DIP Secured Parties shall be implied by any inaction or acquiescence by

11   any of the DIP Secured Parties.

12          21.     Rights Reserved.        Notwithstanding anything to the contrary in this
13   Interim Order, the entry of this Interim Order is without prejudice to, and does not

14   constitute a waiver of, expressly or implicitly, or otherwise impair any of the rights,

15   claims, privileges, objections, defenses or remedies of the DIP Secured Parties under the

16   Bankruptcy Code or under applicable non-bankruptcy law against any other person or

17   entity in any court, including without limitation, the right of the DIP Agents (i) to request

18   conversion of the Chapter 11 Cases to cases under chapter 7, dismissal of the Chapter 11
19   Cases, or the appointment of a trustee in the Chapter 11 Cases, (ii) to propose, subject to

20   the provisions of section 1121 of the Bankruptcy Code, a Chapter 11 plan; (iii) to request

21   modification of the automatic stay; or (iv) to exercise any of the rights, claims or
22   privileges (whether legal, equitable or otherwise) on behalf of the DIP Secured Parties.
23          22.     No Third Party Rights. Except as explicitly provided for herein, this
24   Interim Order does not create any rights for the benefit of any third party, creditor, equity
25   holder or any direct, indirect, third party or incidental beneficiary.

26          23.     Section 506(c) Waiver. As a material inducement to the DIP Secured
27   Parties to agree to provide the DIP Facilities, and in exchange for the DIP Agents’ and

28
                                                  26
 Case: 19-30088        Doc# 23-1       Filed: 01/29/19     Entered: 01/29/19 02:24:53      Page 27
                                                 of 37
1    the DIP Lenders’ willingness to provide the DIP Facilities and their agreement to
2    subordinate their liens and superpriority claims to the Carve-Out to the extent set forth

3    herein, (and without prejudice to the contention of the DIP Agents and the DIP Lenders

4    that section 506(c) of the Bankruptcy Code does not apply to the DIP Facilities), upon
5    entry of the Final Order, no costs or expenses of administration which have been or may

6    be incurred in the Chapter 11 Cases at any time, including, without limitation, any costs

7    and expenses incurred in connection with the preservation, protection or enhancement of
8    realization by the DIP Lenders upon the DIP Collateral, shall be charged against any of

9    the DIP Agents, the DIP Lenders, the DIP Obligations or DIP Collateral pursuant to

10   sections 105 or 506(c) of the Bankruptcy Code or otherwise without the prior express

11   written consent of the DIP Administrative Agent, in its sole discretion, and no such

12   consent shall be implied, directly or indirectly, from any other action, inaction, or

13   acquiescence by any such agents or creditors (including, without limitation, consent to

14   the Carve-Out), in each case, except for the Carve-Out.

15          24.     No Marshalling. The DIP Secured Parties shall not be subject to the
16   equitable doctrine of “marshaling” or any other similar doctrine with respect to any of the

17   DIP Collateral.

18          25.     Right to Credit Bid. Subject to the terms and conditions of the DIP Loan
19   Documents, each of the DIP Agents (at the direction of the Required Lenders) shall have

20   the unqualified right to “credit bid” up to the full amount of the DIP Obligations (other

21   than any obligations in respect of Letters of Credit), as applicable, in connection with any
22   sale or other disposition of all or any portion of the DIP Collateral, including, without
23   limitation, sales occurring pursuant to section 363 of the Bankruptcy Code or included as

24   part of any restructuring plan subject to confirmation under section 1129(b)(2)(A)(iii) of
25   the Bankruptcy Code.

26          26.     Amendments.        Notwithstanding anything contained herein to the
27   contrary, no amendment, modification or supplement of any of the DIP Loan Documents

28
                                                27
 Case: 19-30088        Doc# 23-1     Filed: 01/29/19    Entered: 01/29/19 02:24:53        Page 28
                                               of 37
1    shall be effective unless in writing and in accordance with the applicable DIP Loan
2    Documents. Subject to the terms and conditions of the applicable DIP Loan Documents,

3    the Debtors and the applicable DIP Secured Parties may make any nonmaterial

4    amendment, modification or supplement of any provision of the DIP Credit Agreement or
5    the other DIP Loan Documents, and the Debtors are authorized to enter into any such

6    amendment, modification, supplement or waiver, without further notice to or approval of

7    the Court. In the case of any material amendment, modification, or supplement to the
8    DIP Loan Documents that is adverse to the Debtors (a “Material Amendment”), the
9    Debtors shall provide notice (which may be provided via electronic mail or other

10   electronic means) to the Notice Parties, each of whom shall have five (5) calendar days

11   from the date of receipt of such notice to object in writing to such Material Amendment;

12   provided, however, that any amendment, modification or supplement to the DIP Loan

13   Documents for the purpose of adding additional financial institutions as DIP Lenders and

14   reallocating the commitments for the DIP Facilities among the DIP Lenders or to achieve

15   a “Successful Syndication” as contemplated by paragraph 2(b)(ii) shall not require notice

16   to any person or entity or further order of the Court. If no objections are timely received

17   (or if the Notice Parties indicate via electronic mail that they have no objection) to the

18   Material Amendment, the Debtors may proceed to execute the Material Amendment,
19   which shall become effective immediately upon execution. If a Notice Party timely

20   objects, approval of the Court (which may be sought on an expedited basis) will be

21   necessary to effectuate the Material Amendment.
22          27.     Priority of Terms. To the extent of any conflict between or among
23   (a) the express terms or provisions of any of the DIP Loan Documents, the Motion, any

24   other order of this Court (including, without limitation, the Cash Management Order), or
25   any other agreements, on the one hand, and (b) the terms and provisions of this Interim

26   Order, on the other hand, unless such term or provision herein is phrased in terms of “as
27

28
                                               28
 Case: 19-30088       Doc# 23-1     Filed: 01/29/19     Entered: 01/29/19 02:24:53       Page 29
                                              of 37
1    defined in” or “as set forth in” any of the DIP Loan Documents, the terms and provisions
2    of this Interim Order shall govern.

3            28.        Survival of Interim Order. The provisions of this Interim Order and any
4    actions taken pursuant hereto shall survive and shall not be modified, impaired or
5    discharged by entry of any order which may be entered (i) confirming any Chapter 11

6    plan in the Chapter 11 Cases, (ii) converting any of the Chapter 11 Cases to a case under

7    chapter 7 of the Bankruptcy Code, (iii) dismissing any of the Chapter 11 Cases,
8    (iv) withdrawing of the reference of any of the Chapter 11 Cases from this Court or

9    (v) providing for abstention from handling or retaining of jurisdiction of any of the

10   Chapter 11 Cases in this Court. The terms and provisions of this Interim Order, including

11   the DIP Liens, DIP Superpriority Claim, and other rights, privileges, benefits and

12   protections afforded herein and in the DIP Loan Documents to the DIP Secured Parties

13   shall continue in full force and effect notwithstanding the entry of such order, and shall

14   maintain their respective priorities as provided by this Interim Order, the DIP Credit

15   Agreement and the other DIP Loan Documents (as the case may be) until the payment in

16   full of the DIP Obligations, and this Court shall retain jurisdiction, notwithstanding

17   dismissal of any of the Chapter 11 Cases, for the purposes of enforcing the foregoing to

18   the extent permitted by applicable law.
19           29.        Enforceability. This Interim Order shall constitute findings of fact and
20   conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be fully

21   enforceable nunc pro tunc to the Petition Date immediately upon execution hereof. Any
22   finding of fact shall constitute a finding of fact even if it is stated as a conclusion of law,
23   and any conclusion of law shall constitute a conclusion of law even if it is stated as a

24   finding of fact.
25           30.        Waiver of Any Applicable Stay. This Interim Order shall be effective
26   upon its entry and not subject to any stay (all of which are hereby waived),
27

28
                                                  29
 Case: 19-30088           Doc# 23-1    Filed: 01/29/19    Entered: 01/29/19 02:24:53         Page 30
                                                 of 37
1    notwithstanding anything to the contrary contained in Bankruptcy Rule 4001(a)(3), 6004
2    or any other Bankruptcy Rule.

3           31.     Discharge. The DIP Obligations shall not be discharged by the entry of an
4    order confirming any plan in any of the Chapter 11 Cases, notwithstanding the provisions
5    of section 1141(d) of the Bankruptcy Code, unless such obligations have been

6    indefeasibly paid in full in cash, on or before the effective date of such confirmed plan, or

7    each of the DIP Secured Parties has otherwise agreed in writing.
8           32.     Limitation of Liability. In determining to make any loan under the DIP
9    Loan Documents pursuant to this Interim Order, the DIP Credit Agreement or the other

10   DIP Loan Documents, the DIP Secured Parties in their capacity as such shall not be

11   deemed to be in control of the operations of the Loan Parties or to be acting as a

12   “responsible person” or “owner or operator” with respect to the operation or management

13   of the Loan Parties (as such terms, or any similar terms, are used in the United States

14   Comprehensive Environmental Response, Compensation and Liability Act, 29 U.S. §§

15   9601 et seq., as amended, or any similar federal or state statute). Furthermore, nothing in

16   this Interim Order, the DIP Credit Agreement or the other DIP Loan Documents shall in

17   any way be construed or interpreted to impose or allow the imposition upon the DIP

18   Secured Parties of any liability for any claims pursuant to environmental law arising from
19   the prepetition or postpetition activities of any of the Loan Parties. None of the DIP

20   Secured Parties in their capacity as such or any of their Affiliates are successors to the

21   Debtors or their estates by reason of any theory of law or equity, and none of the DIP
22   Secured Parties or any of their Affiliates shall assume or in any way be responsible for
23   any liability or obligation pursuant to environmental law of any of the Debtors and/or

24   their estates. Notwithstanding the foregoing, the provisions of this paragraph 32 shall
25   apply only to the extent that the DIP Lenders’ actions do not (a) constitute, within the

26   meaning of 42 U.S.C. § 9601(20)(F), actual participation in the management or
27   operational affairs of a vessel or facility owned, leased or operated by a Debtor, or

28
                                                30
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53        Page 31
                                               of 37
1    (b) otherwise cause (i) liability to arise to the federal or state government or (ii) the status
2    of any responsible person or the managing agent to exist, in each case under applicable

3    law (as such terms, or any similar terms, are used in the United States Comprehensive

4    Environmental Response, Compensation and Liability Act, 42 U.S.C. § 9601 et seq., as
5    amended, or any similar federal or state statute).

6            33.     Cash Management Liens; Exchange Operator Liens.
7                    Notwithstanding anything to the contrary in this Interim Order, none of the
8    DIP Liens shall prime any properly perfected lien or security interest in cash collateral or

9    letters of credit securing any obligations owed by any Loan Party to:

10                   (a)    to the extent existing as of the Petition Date, any Cash

11   Management Bank under any Cash Management Agreement entered into with any Loan

12   Party; or

13                   (b)    [the Exchange Operators (as defined in the Exchange Operator

14   Order (as defined below)) (including the liens granted pursuant to paragraph 4 of the

15   Order Pursuant to 11 U.S.C. §§ 105, 362, 363, and 364 and Fed. R. Bankr. P. 6003 And

16   6004 Authorizing Debtors to (A) Honor Prepetition Obligations to Natural Gas and

17   Electricity Exchange Operators, (B) Grant Administrative Expense Claims and Authorize

18   Posting of Postpetition Collateral to Exchange Operators, Trading Counterparties, and
19   Future Commission Merchants, (C) Modify the Automatic Stay, and (D) Grant Related

20   Relief (the “Exchange Operator Order”), which provision shall remain in full force and
21   effect and shall not be modified by the terms of this Interim Order), and all such liens and
22   security interests shall be deemed to be Senior Permitted Liens hereunder and under the
23   DIP Credit Agreement.]

24           34.     Limitation on Transfer of DIP Collateral. The limited exemption that
25   CPUC granted to the Debtors in proceedings A. 18-10-003 and A.18-11-001 (the “CPUC
26   DIP Proceedings”) pursuant to Public Utilities Code Sections 829(c) and 853(b) in
27   respect of the Debtors’ debtor-in-possession financing does not extend to the transfer of

28
                                                 31
 Case: 19-30088        Doc# 23-1      Filed: 01/29/19      Entered: 01/29/19 02:24:53         Page 32
                                                of 37
1    ownership of any utility asset that is part of the DIP Collateral pursuant to the DIP Loan
2    Documents. Prior to any exercise of remedies by the DIP Secured Parties that would

3    result in the transfer of any utility asset that is part of the DIP Collateral pursuant to the

4    DIP Loan Documents, the Debtors must seek CPUC approval to execute such a transfer
5    under Public Utilities Code Section 851.

6           35.       Notice to CPUC. Within three days of the Petition Date, the Debtors
7    shall file and serve a compliance filing in the CPUC DIP Proceedings, notifying CPUC of
8    its filing and setting forth the terms of the debtor-in-possession financing authorized

9    herein. Within three days of incurrence of an Incremental Facility, the Debtors shall file

10   and serve a compliance filing in the CPUC DIP Proceedings, notifying CPUC of the

11   terms thereof.

12          36.       Final Hearing.
13                    (a)   The Final Hearing to consider entry of the Final Order and final

14   approval of the DIP Facilities is scheduled for [●], 2019, at [●] [a.m./p.m.] (Prevailing
15
     Pacific Time) at the United States Bankruptcy Court for the Northern District of
16
     California. If no objections to the relief sought in the Final Hearing are filed and served
17
     in accordance with this Interim Order, no Final Hearing may be held, and a separate Final
18
     Order (in form and substance reasonably satisfactory to the DIP Agents) may be
19

20   presented by the Debtors and entered by this Court.

21
                      (b)   On or before [●], 2019 the Debtors shall serve, by United States
22
     mail, first-class postage prepaid, notice of the entry of this Interim Order and of the Final
23
     Hearing (the “Final Hearing Notice”), together with copies of this Interim Order and the
24
     Motion, on the Notice Parties and to any other party that has filed a request for notices
25

26   with this Court prior thereto and to any Committee after the same has been appointed, or

27   Committee counsel, if the same shall have been appointed. The Final Hearing Notice
28
                                                  32
 Case: 19-30088         Doc# 23-1      Filed: 01/29/19    Entered: 01/29/19 02:24:53        Page 33
                                                 of 37
1    shall state that any party in interest objecting to the entry of the proposed Final Order

2    shall file written objections with the Clerk of the Court no later than [●], 2019 at [●]
3
     [a.m./p.m.] (Prevailing Pacific Time), which objections shall be served so that the same
4
     are received on or before such date by: (a) proposed special counsel for the Debtors,
5
     Cravath, Swaine & Moore LLP, Worldwide Plaza, 825 Eighth Avenue, New York, NY
6
     10019 (Attn: Paul H. Zumbro, George E. Zobitz, Stephen M. Kessing and Nicholas A.
7
8    Dorsey); (b) proposed counsel for the Debtors, Weil Gotshal & Manges, LLP, 767 Fifth

9    Ave., New York, NY 10153-0119 (Attn: Daniel S. Dokos and Jessica Liou); (c) counsel
10   to the DIP Administrative Agent, Stroock & Stroock & Lavan, LLP, 180 Maiden Lane,
11
     New York, NY 10038 (Attn: Kristopher M. Hansen, Erez E. Gilad, Frank A. Merola and
12
     Matthew G. Garofalo); (d) counsel to any Committee; and (e) the U.S. Trustee.
13
            37.     Retention of Jurisdiction. The Court has and will retain jurisdiction to
14
     hear, determine and, if applicable, enforce the terms of, any and all matters arising from
15
     or related to the DIP Facilities and/or this Interim Order.
16

17

18
                                       **END OF ORDER**
19

20

21
22
23

24
25

26
27

28
                                                 33
 Case: 19-30088        Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53    Page 34
                                                of 37
                                                Schedule A3

  Directed Contracts

  Any right, title, and interest of the Debtors in respect of contracts that the Debtors have
  entered into as of the Petition Date pursuant to an express CPUC directive or another
  express Requirement of Law, as provided below:

      1. The Energy Upgrade California marketing initiative, including any contracts
         related to the transition to time of use rate plans, as directed by D. 16-09-02 and
         D. 15-07-001.
      2. The review of third-party solicitations in respect of energy efficiency programs by
         independent evaluators, as directed by D. 18-01-004.
      3. Affiliate transactions audit, as directed by D. 06-12-029.
      4. Rule 20A undergrounding audits, as directed by D. 18-03-022.
      5. The Gridworks management of working groups in the interconnection proceeding,
         in relation to R. 17-07-007.
      6. The CCA code of conduct audit, as directed by D. 12-12-036.
      7. The catastrophic event memorandum account audit, as directed by Res. ESRB-4.

  Operational Funding

           1. Any fees or amounts that the Debtors are required to collect and remit to
              CPUC, the Energy Resources Conservation and Development Commission, or
              other governmental entity, each pursuant to an express CPUC directive or
              another express Requirement of Law as in existence as of the Petition Date.

  Funds Held in Trust or Escrow

           1. Any assets or property held by the Debtors in trust for, or otherwise
              administered for the benefit of, the public or public good, pursuant to an
              express CPUC directive or another express Requirement of Law, each as in
              existence as of the Petition Date as provided below:
                  a. Settlement funds in relation to energy crisis litigation that have been
                     deposited in escrow, as directed by the 2003 Bankruptcy Settlement.
                  b. Amounts obligated to be funded by the Debtors in respect of the
                     decommissioning of the Diablo Canyon power plant, as directed by
                     Pub. Util. Code Section 8325.

  Sierra Stewardship Lands
       3
         To the extent any directed contracts, operational funding requirements, programs requiring funds to
  be held in trust or escrow, billing agent programs or clean energy programs to which the Debtors were
  obligated pursuant to an express CPUC directive or express Requirement of Law in existence as of the
  Petition Date was inadvertently omitted from this schedule, it will be entitled to the same treatment
  afforded to the property and programs described herein.




Case: 19-30088        Doc# 23-1        Filed: 01/29/19        Entered: 01/29/19 02:24:53              Page 35
                                                 of 37
1
            1. Land identified in that certain Settlement Agreement, dated December 19,
2              2003, among the Debtors and CPUC, and the related Stipulation Resolving
               Issues Regarding the Land Conservation Commitment that has not been made
3
               subject to an easement or donated in accordance with the obligations set forth
4              therein, which includes, for the avoidance of doubt, the Watershed Lands and
               the Carizzo Plains (both, as defined in and identified by the Settlement
5              Agreement).

6    Billing Agent Programs
7
     Funds collected by the Debtors as billing agent for programs pursuant to an express
8    CPUC directive or another express Requirement of Law, each as in existence prior to the
     Petition Date, as provided below:
9
            1. Community choice aggregators, as directed by Cal. Pub. Util. Code Section
10             366.2.
11          2. Energy service providers, as directed by Cal. Pub. Util. Code Sections 365.1
               and 366.
12          3. Core transportation agents, as directed by Cal. Util. Code Section 980 et seq.
            4. Department of Water Resources bond charges, as directed by Cal. Pub. Util.
13             Code Section 80110.
            5. The surcharge on (a) natural gas bills that funds cost-effective energy
14             efficiency programs (as directed by Cal. Pub. Util. Code Section 890 et seq)
15             and (b) electricity bills to fund public purpose revenue streams (as directed by
               Cal. Pub. Util. Code Section 381 et seq).
16
     Clean Energy Programs
17
     Funds required to be budgeted for, and any right, title and interest of the Debtors in,
18   contracts and programs pursuant to an express CPUC directive or another express
19   Requirement of Law existing prior to the Petition Date, as provided below:

20          1. Demand response auction mechanisms, as directed by D. 14-12-024.
            2. Self-generation incentive programs, as directed by D. 01-03-073.
21          3. Energy efficiency programs, including, but not limited to, custom projects
               through third-party implementers, funding to local governments for local
22
               governmental programs and funding for regional energy networks, as directed
23             by D. 18-01-004.
            4. The Community Solar Green Tariff Program, as directed by D. 18-06-027.
24          5. The Disadvantaged Communities – Green Tariff Program, as directed by D.
               18-06-027.
25          6. The Disadvantaged Communities – Single-family Solar Homes Program, as
               directed by D. 18-06-027.
26
            7. The California Solar Initiative Program, as directed by D. 06-01-024.
27          8. The California Solar Initiative Thermal Program, as directed by D. 10-01-022.

28
                                                 2
 Case: 19-30088       Doc# 23-1      Filed: 01/29/19     Entered: 01/29/19 02:24:53            Page 36
                                               of 37
1        9. The CSI Multifamily Affordable Solar Housing Program, as directed by D.
             08-10-036.
2        10. The Net Energy Metering Program, as directed by D. 16-01-044.
         11. San Joaquin Valley pilot projects, as directed by D. 18-12-015.
3
         12. The Single Family Affordable Solar Housing Program, as directed by D. 07-
4            11-045.
         13. The Multifamily Affordable Housing Solar Roofs Program, as directed by D.
5            17-12-022.

6

7
8

9

10

11

12

13

14

15

16

17

18
19

20

21
22
23

24
25

26
27

28
                                           3
 Case: 19-30088   Doc# 23-1    Filed: 01/29/19    Entered: 01/29/19 02:24:53     Page 37
                                         of 37
